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                                         -UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA                  r-----------

                                                                                                AUG 18 2022
                   IN RE SEALED SEARCH WARRANT,
                                                                                                ANOELA f . NOBLE
                                                                                               CL RK U a. Dl6f. CT.
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                   - - - - - - - - - - - - - -'
                           PATRICK M. BYRNE'S CONSOLIDATED MOTION TO
                       INTERVENE AND MEMORANDUM OF LAW FOR THE LIMITED
                     PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT RECORDS

                          COMES NOW prose Patrick M. Byrne and hereby moves this Honorable Court

                   for permission to intervene for the limited purpose of obtaining access to search

                   warrant records pertaining to President Donald J. Trump and/or President Donald J.

                   Trump's Mar-a-Lago Palm Beach, Florida club and residence and would respectfully

                   show unto this Honorable Court as follows:

                                                STATEMENT OF FACTS

                          1.    Facts Specific to Above-styled Case.

                          On August 8, 2022, FBI agents executed a search warrant at President Donald

                   J. Trump's residence at Mar-a-Lago, Palm Beach, Florida. The search was allegedly

                   for records covered by the Presidential Records Act and the classification of said

                   records. According to the docket, all entries, including the Affidavit in support of the

                   search warrant, are sealed. Pro se Patrick Michael Byrne contends that said records

                   should be unsealed in order to promote transparency, accountability and integrity in

                   government. The government must adhere to the rule oflaw.




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                          2.     Relevant Facts within Patrick Byrne's Personal Knowledge.

                          The facts stated herein are based upon my personal knowledge. The dialogue

                   quoted here was documented approximately 30-40 days after it was spoken in my

                   book THE DEEP RIG: How ELECTION FRAUD COST DoNALDJ. TRUMP THE WIIlTE HOUSE,

                   BY A MAN WHO DID NOT VOTE FOR HIM (OR WHAT TO SEND FRIENDS WHO ASK, "WHY DO

                   YOU DOUBT THE INTEGRITY OF THE 2020 ELECTION?") 111 (2021), a book written in the

                   last week of January, 2020 and first week of February, 2020." Declaration of Patrick

                   Michael Byrne, ,i 2 (attached hereto as Exhibit 1).

                          On the evening of Friday, December 18, 2020, Attorney Sidney Powell, General

                   Michael Flynn, an attorney named Emily Newman who worked for Ms. Powell, and I

                   were sitting in the Oval Office with President Donald J. Trump with the door closed.

                   Id at ii 3.

                          Also present in the meeting were White House General Counsel Pat Cipollone,

                   Attorney Patrick F. Philbin and Attorney Eric Herschmann." Id at ,r 4.

                          In this meeting the topic of discussion revolved around how to respond to a

                   situation where the FBI and DHS had themselves reported foreign interference being

                   attempted in our elections (October 22), foreign interference in our election systems

                   being successful in at least one state, and being undertaken against others, by a

                   combination of Iran and other nation-state actors; and on December 16, 2020 an

                   unprecedented network security hack involving a product called SolarWinds Orion.

                   Id at ii 5.




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                           During this discussion multiple different potential solutions were discussed,

                   such as using the DHS (or FBI or joint US Marshall/National Guard) to send small

                   teams into 6 (or 12, 31, or even only 1) counties to image the hard drive of the

                   appropriate county election system (and/or conduct livestreamed recount and/or

                   simply recover the election equipment for full exploitation by federal authorities), and

                   also, appointing special counsel to investigate, which was not well-received by White

                   House General Counsel Pat Cipollone, and to which Cipollone quipped that "Never in

                   American history has there been this kind of a challenge to an election!" Id at 6.

                           General Flynn responded to Cipollone by stating, ''Never in American history

                   has there been a situation like this, with counting being shut down for hours,

                   foreigners connecting to our equipment ...." Id at ,i 7. As White House General

                   Counsel, one of Mr. Cipollone's primary responsibilities was to advise the President

                   of The United States as to bounds of his lawful authority as head of the executive

                   branch of the federal government. Id at ,i 8. At one point White House General

                   Counsel Pat Cipollone advised that Trump "does not have the authority to do this!"

                   Id at   ,r   9. Attorney Sidney Powell responded "Oh course he does!" citing Executive

                   Order 13848. Id at     ,r 10.
                           White House General Counsel Pat Cipollone grew frustrated with the topic of

                   conversation and made it clear that he did not want any involvement with the

                   proposed courses of action, eventually stating, "Hey if you want to do this you don't

                   need my permission. You don't even need a pen or a piece of paper. You can just say,

                   'I hire Sidney Powell as White House Special Counsel,' and it's done." See also Byrne,




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                   supra, at 117; Marbury v. Madison, 1 Cran.ch 137, 138, 157, (1803) (stating that the

                   point in time in which the constitutional power of appointment has been exercised is

                   when the last act required from the person performing the power has been

                   performed). Id at ,r 11.

                         After approximately 30 minutes more discussion, President Trump stated to

                   White House General Counsel Pat Cipollone ''You know Pat? A few minutes ago you

                   said that I can make it happen just by saying it. Well .... OK. I have decided, now I'm

                   saying it. 'Sidney Powell is hereby appointed as White House Special Counsel.' Id at

                   ,i 12. Another White House lawyer interjected stating that Sidney Powell needs a

                   clearance and "it'll take months to get her a clearance." Id at   ,r 13. General Michael
                   Flynn responded to this objection by stating "Mr. President, you can do the same

                   thing with a clearance. You can grant any clearance you want, on the spot, verbally."

                   See also Byrne, supra, at 120; Marbury v. Madison, 1 Cranch 137, 138, 157, (1803)

                   (stating that the point in time in which the constitutional power of appointment has

                   been exercised is when the last act required from the person performing the power

                   has been performed). Id at ,r 14.

                          Immediately thereafter President Donald J. Trump stated to his White House

                   lawyers, ''I grant Sidney Powell a Top Secret security clearance." Byrne, supra, at

                   120. Whereupon the White House counsels were angry, but did not dispute Trump's

                   actions, but instead left the room angrily. Id at   41[   15.

                          I have read Marbury v. Madison, 5 U .S. 137 (1803), which states that "A

                   commission is not necessary to the appointment of an officer by the executive.... A




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                   commission is only evidence of an appointment." (emphasis in original). Id at        ,r 16. I
                   witnessed White House lawyers advise the President of his power to verbally appoint

                   government officials. Id at       ,r   17. I witnessed a former National Security Advisor

                   advise the President of his power to verbally grant any level security clearance to a

                   person on the spot. Id at ,r 18. On December 18, 2020, I witnessed Marbury v. Madison

                   in action. Id at   ,r   19. On December 18, 2020, I witnessed White House General

                   Counsel advise the President that he could make a verbal appointment. Id at ,r 20.

                          On December 18, 2020, I witnessed President Donald J . Trump verbally

                   appoint Attorney Sidney Powell to the position of White House Special Counsel. Id at

                   21. On December 18, 2020, Attorney Sidney Powell held the position of White House

                   Special Counsel. Id at     ,r   22. On December 18, 2020, I witnessed General Michael

                   Flynn, who was the 24th United States National Security Advisor, advise the

                   President that he could verbally grant, on the spot, any security clearance level. Id at

                   ,r 23. On December 18, 2020, I witnessed President Donald J. Trump verbally grant
                   White House Special Counsel Sidney Powell a Top Secret security clearance. Id at           ,r
                   24. On December 18, 2020, White House Special Counsel Sidney Powell held a Top

                   Secret security clearance. Id at ,r 25.

                          In January 2022, I had the opportunity of a social visit with the Honorable

                   Rudy Giuliani. Over the course of lunch, I asked him what happened such that our

                   conversation in the White House had not been implemented. Mr. Giuliani told me

                   that after our party had left the White House at approximately 12:15 AM December

                   19, 2020, he spoke to the President for an additional 2-3 minutes whereupon the




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                         In Marbury, the final act of appointing Marbury had been completed. In those

                   days, the final act was affixing the presidential seal to Marbury's appointment. The

                   completion of the final act is what is required before the power of the President has

                   been exercised. The final act can includ~ affixing the presidential seal to a document

                   appointing a justice of the peace, as was done in Marbury v. Madison. The final act

                   can also include a verbal appointment of a special counsel. All that is required is the

                   completion of the final act. In Marbury, the appointment was made when William

                   Marbury was not in presence of the President. The final act was affixing the seal to

                   the document appointing him, which would then be delivered to Marbury. The final

                   act can also include a verbal appointment if the recipient is in the presence of the

                   President.

                          In this case, President Trump's Mar-a-Lago residence was raided for alleged

                   violations of the Presidential Records Act. However, President Trump verbally

                   declassified all of the records in question and that were targeted in said search

                   warrant. As Marbury v. Madison makes clear, the final act is all that is required

                   before the presidential act is complete. President's Trump's lawyers advised him that

                   he can speak into existence the powers of the President, which would then be

                   evidenced by a subsequent document, commission, etc. Evidence that the President

                   has the power to verbally appoint special counsel has been lawfully exercised and

                   upheld in my presence. The power of the President to verbally grant/appoint any

                   security clearance level by speaking it into existence has been lawfully exercised and




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                   upheld in my presence. The verbal exercise of presidential power is nothing new; it is

                   the requisite final act.

                          As in Marbury, the final act was complete in this case when President Trump

                   verbally declassified the documents that were confiscated in the raid on President

                   Trump's Mar-a-Lago residence. There was no violation of the Presidential Records

                   Act. The final act was speaking the decree into existence even though the

                   declassification of said documents had not yet been evidenced. The search warrant

                   was unlawful and improper and should have never been issued. The government

                   cannot classify documents that have already been declassified. As such, this Court

                   should unseal all documents relating to this search warrant so that the public can

                   see the events that transpired prior to this unprecedented raid on President Trump's

                   Mar-a -Lago residence. These documents should be unsealed instanter and for the

                   foregoing reasons this motion to unseal should be GRANTED.

                          Respectfully submitted this 18th day of August, 2022.

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